B19-28839                            EAB\alb                             06/28/2019

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION - AKRON


IN RE:                                  )     CHAPTER 13
                                        )
CHRISTOPHER D. JANOK                    )     CASE NO. 19-50681
                                        )
       Debtor                           )     JUDGE ALAN M. KOSCHIK
                                        )
                                        )     OBJECTION TO CONFIRMATION
                                        )     OF THE CHAPTER 13 PLAN
                                        )
                                        )     ** PROPERTY ADDRESS
                                        )     1233 Nola Avenue
                                        )     Barberton, Ohio 44203



       Now comes M&T BANK a creditor herein holding a secured claim

on    the   residence     of   the   debtor    and    hereafter,    pursuant      to      11

U.S.C., Section 1324 objects to the confirmation of the within

Chapter 13 plan for the reasons set forth:

       1. The debtor is in possession and use of the property and is

unable or has not been given adequate protection against further

deterioration or depletion of the property which is secured by the

mortgage of M&T Bank, including but not limited to the payment of

real estate taxes and maintenance of adequate insurance.

       2. There is no equity in the real estate which is secured by

the    mortgage   of     M&T   Bank,   or,     if    there   is   equity,    it   is      of

insignificant value.




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     3. The plan does not comply with 11 U.S.C Section 1322(b)(5)

as the plan does not provide for the curing of arrearages within a

reasonable time, which arrearages are in the sum of $9,257.73.

     4.   The    Objection     that    is    raised    herewith     is   a    standing

Objection      and   shall   continue     with    reference    to   the      currently

proposed plan and any subsequently modified plan or plans.

     WHEREFORE, Creditor prays that this Court deny confirmation of

the Debtor(s) proposed Chapter 13 Plan.




                                      /s/ Edward A. Bailey
                                      Reimer Law Co.
                                      Edward A. Bailey #0068073
                                      Richard J. LaCivita #0072368
                                      Cynthia A. Jeffrey #0062718
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                          CERTIFICATE OF SERVICE


I certify that on June 28, 2019, a true and correct copy of the
Objection to Confirmation was served:

Via the Court’s Electronic Case Filing System on these entities
and individuals who are listed on the court’s Electronic Mail
Notice List:

1.   Office of the U.S. Trustee at (Registered
     address)@usdoj.gov

2.   Keith Rucinski on behalf of the Chapter 13 Trustee's office
     at krucinski@ch13akron.com

3.   David Mucklow, Esq. on behalf of Christopher D. Janok,
     Debtor, at davidamucklow@yahoo.com

And by regular U.S. mail, postage prepaid, to:

4.   Christopher D. Janok, Debtor at 1233 Nola Avenue,
     Barberton, OH 44203

5.   Summit County Treasurer's Office at Ohio Building - 175 S.
     Main Street, Suite 320, Akron, Ohio 44308

6.   Robyn Janok at 1233 Nola Avenue, Barberton, OH            44203




                                /s/ Edward A. Bailey
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